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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                             BUTTE DIVISION

 UNITED STATES OF AMERICA,                            CR 16–01–BU–DLC–2

                      Plaintiff,
                                                              ORDER
        vs.

 JACQUELINE MAE FOSSIANO,

                      Defendant.

      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on April 26, 2016. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Jacqueline Mae Fossiano’s

guilty plea after Fossiano appeared before him pursuant to Federal Rule of

Criminal Procedure 11, and entered a plea of guilty to one count of distribution of

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methamphetamine in violation of 21 U.S.C. § 841(a)(1), as set forth in Count II of

the Indictment. In exchange for Defendant’s plea, the United States has agreed to

dismiss Counts I and III of the Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

40), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Jacqueline Mae Fossiano’s motion to

change plea (Doc. 30) is GRANTED and Jacqueline Mae Fossiano is adjudged

guilty as charged in Count II of the Indictment.

      DATED this 12th day of May, 2016.




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